                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

SECOND AMENDMENT ARMS,          )
(a d/b/a of R. Joseph Franzese),)
R. JOSEPH FRANZESE, individually)
and d/b/a SECOND AMENDMENT ARMS,)
ROBERT M. ZIEMAN, SR., ICARRY, )
an unincorporated Association   )
a d/b/a of Shaun Kranish), and )
SHAUN A. KRANISH,               )
                                )
                    Plaintiffs, )
                                )
               v.               )           Civil Case No: 1:10-cv-4257
                                )
CITY OF CHICAGO, a municipal    )           Hon. Robert M. Dow, Jr.
corporation, RICHARD M. DALEY, )            U.S. District Court Judge
individually and as the Mayor   )
of the City of Chicago, JODY    )           Hon. Sheila M. Finnegan
P. WEIS, Superintendent of      )           U.S. Magistrate Judge
Police of the City of Chicago, )
MIGUEL DEL VALLE, City Clerk    )
of the City of Chicago, and     )
MARA GEORGES, individually and )
as Corporation Counsel of the   )
City of Chicago,                )
                                )
                    Defendants. )

                  PLAINTIFFS’ MOTION TO EXTEND TIME
                  TO FILE SECOND AMENDED COMPLAINT
    Now comes Plaintiffs, SECOND AMENDMENT ARMS (a d/b/a of R.
Joseph   Franzese),    R.    JOSEPH   FRANZESE,    individually    and   d/b/a
SECOND     AMENDMENT   ARMS,    ROBERT      M.   ZIEMAN,   SR.,   ICARRY,   an
unincorporated Association (a d/b/a of Shaun Kranish), and SHAUN
A. KRANISH, by     and      through   his    attorney, Walter Maksym, and
respectfully request that they be granted an extension of time
within which to file their Second Amended Complaint, stating as
follows:
    1.      This Court entered and order on July 27, 2011 granting
August 17, 2011 for         Plaintiffs to file        their Second Amended
Complaint     and    until   September        14,   2011     to    file    responsive
pleading thereto. (Doc. 41)
      2.     By reason of Plaintiffs‘ counsel’s need to attend to
pressing and critical health and the professional demands of
other litigation his ability to complete and timely file said
Second Amended Complaint, it has become necessary to request an
extension of time to file same.
      3.     Plaintiffs‘     consel       has   conferred         with    Defendants‘
counsel, Mardell Nereim, who has indicated that she and her
clients have no objection to this request for extension of time,
provided     the    time   for    Defendants’       to    file    their    responsive
pleading thereto is extended for the same period.
      4.     This Motion is timely made in good faith for purposes
of necessity only in order to obtain additional time to complete
and   file   Plaintiffs’         Second   Amended        Complaint,      and   not   for
purposes of delay.
      5.     Plaintiffs‘ counsel verifies this Motion pursuant to
the Certification hereto.
       WHEREFORE, Plaintiff respectfully prays that this Court
enter an order extending the time for them to file their Second
Amended Complaint twenty-one days to September 7, 2011, extend
the time for Defendants to file their responsive pleading to
September 28, 2011 and grant such other further relief as this
Court may deem fair, just and proper in the premises.
                                          Respectfully submitted,

                                          R. JOSEPH FRANZESE d/b/a/ SECOND
                                          AMENDMENT ARMS, ROBERT M. ZIEMAN,
                                          SR., ICARRY and SHAUN A. KRANISH,
                                          Plaintiffs,

                                          By_/s/ Walter Maksym____________
                                             WALTER MAKSYM, their attorney




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                 VERIFICATION BY CERTIFICATION

     The undersigned attorney certifies that he has read the
foregoing instrumentt, that to the best of his knowledge,
information, and belief, formed after reasonable inquiry, it is
well grounded in fact and is warranted by existing law or a
good-faith argument for the extension, modification, or reversal
of existing law, and that it is not interposed for any improper
purpose, such as to harass or to cause unnecessary delay or
needless increase in the cost of litigation.


                                   _/s/ Walter Maksym___________




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